
SEVERSON, Presiding Circuit Judge.
[¶ 1.] This is a disciplinary proceeding against William J. Janklow (Janklow), a member of the State Bar of South Dakota. The Disciplinary Board of the State Bar of South Dakota (Disciplinary Board) has recommended that Janklow be suspended from the practice of law for a total of twenty-six months from December 15, 2003, and that he be reinstated without further proceedings on February 15, 2006, subject to conditions.
[¶ 2.] We find that a twenty-six month suspension of Janklow’s license to practice law, together with the recommended conditions upon reinstatement, is appropriate.
FACTUAL AND PROCEDURAL BACKGROUND
[¶ 3.] Janklow graduated from the University of South Dakota School of Law in 1966 and was admitted to the practice of law. He began his legal career as director of the legal aid program at Mission, South Dakota where he worked for approximately six years representing indigent clients. He then practiced in Pierre, South Dakota for approximately two years. Janklow served as Attorney General of South Dakota from 1975 to 1979 and served as Governor of South Dakota from 1979 to 1987 and from 1995 to 2003. Between his terms as Governor, Janklow spent approximately eight years in private practice in Sioux Falls, South Dakota. Janklow was elected to the United States House of Representatives in November 2002 and was serving in that capacity at the time of the events leading to this disciplinary action.
[¶ 4.] On December 8, 2003, a Moody County jury convicted Janklow of failure to stop at a stop sign, speeding, reckless driving and second degree manslaughter. The charges arose from an August 16, 2003, collision which killed Randolph Scott. A detailed statement of the criminal case can be found in State v. Janklow, 2005 SD 25, 693 N.W.2d 685. Trial evidence documented numerous speeding incidents and other traffic violations. On December 9, 2003, Janklow reported the felony conviction to this Court. As provided by SDCL 16-19-37, Janklow’s license to practice law was suspended on December 15, 2003, *31pending formal disciplinary proceedings pursuant to SDCL 16-19-39.
[¶ 5.] The trial court sentenced Jank-low on January 22, 2004. Pursuant to SDCL 23A-27-13, the trial court granted a suspended imposition of sentence on the second degree manslaughter charge. Under the terms of the suspended imposition of sentence, Janklow was placed on probation for a period of three years under certain conditions, including that he serve one hundred days in the Minnehaha County Jail, that he pay a fine of $5,000, and that he not drive a motor vehicle during the period of his probation. Janklow appealed and his convictions were affirmed in Janklow, 2005 SD 25, 693 N.W.2d 685.
[¶ 6.] The Disciplinary Board held a hearing on this matter on June 13, 2005, and filed its findings of fact, conclusions of law and recommendation with this Court on August 1, 2005. Janklow did not object and a referee was not appointed. The Disciplinary Board recommended that Janklow be suspended from the practice of law for a total of twenty-six months commencing December 15, 2003, with reinstatement without further proceedings on February 15, 2006, subject to the following conditions:
(a)That he fully comply with all terms and conditions of his probation.
(b)That he promptly advise the Secretary of the Disciplinary Board of any violation of his probation, and the Disciplinary Board make a determination of whether to recommend [Janklow’s] license be again suspended or other discipline imposed.
(e)That for a period of two years after his probation is complete, [Jank-low] promptly report to the Secretary of the Disciplinary Board any moving violations of traffic laws, and the Disciplinary Board make a determination of whether to recommend [Janklow’s] license be again suspended or other discipline imposed.
STANDARD OF REVIEW
[¶ 7.] “This Court gives careful, due consideration to the Disciplinary Board’s findings of fact because it had the advantage of encountering the witness first hand.” In re Discipline of Ortner, 2005 SD 83, ¶ 26, 699 N.W.2d 865, 874 (citing In re Arendt, 2004 SD 83, ¶ 12, 684 N.W.2d 79, 81). However, this Court does not defer to a recommended sanction. Discipline of Ortner, 2005 SD 83, ¶ 26, 699 N.W.2d at 874 (citing In re Discipline of Laprath, 2003 SD 114, ¶41, 670 N.W.2d 41, 55). “ ‘The final determination for the appropriate discipline of a member of the State Bar rests firmly with the wisdom of this Court.’ ” Discipline of Ortner, 2005 SD 83, ¶ 26, 699 N.W.2d at 874 (quoting Matter of Discipline of Wehde, 517 N.W.2d 132, 133 (S.D.1994)).
LEGAL ANALYSIS
[¶ 8.] Article V, Section 12 of the South Dakota Constitution places an affirmative duty on this Court to “govern terms of courts, admission to the bar, and discipline of members of the bar.” SDCL 16-19-31 further defines this Court’s constitutional regulatory relationship with the State Bar:
The license to practice law in this state is a continuing proclamation by the Supreme Court that the holder is fit to be entrusted with professional and judicial matters, and to aid in the administration of justice as an attorney and as an officer of the court. It is the duty of every recipient of that privilege to conduct himself at all times, both professionally and personally, in conformity with the standards imposed upon members of the *32bar as conditions for the privilege to practice law.
SDCL 16-19-37 provides, in pertinent part:
If any attorney has been convicted of a serious crime as defined in § 16-19-36, the Supreme Court shall enter an order immediately suspending the attorney, whether the conviction resulted from a plea of guilty or nolo contendere or from a verdict after trial or otherwise, and regardless of the pendency of an appeal, pending final disposition of a disciplinary proceeding to be commenced upon such conviction.
[¶ 9.] A “serious crime” is defined as:
any felony and any lesser crime a necessary element of which, as determined by the statutory or common law definition of such crime, involves improper conduct as an attorney, interference with the administration of justice, false swearing, misrepresentation, fraud, willful failure to file income tax returns, deceit, bribery, extortion, misappropriation, theft, or an attempt or a conspiracy or solicitation of another to commit a serious crime.
SDCL 16-19-36. Janklow was convicted of second degree manslaughter, a Class 4 felony which is a “serious crime” under SDCL 16-19-36. Under the provisions of SDCL 16-19-39, the sole issue to be determined is the extent of the final discipline to be imposed.
[¶ 10.] The disciplinary options available to this Court include private reprimand, public censure, placement on probationary status, suspension for up to three years and disbarment. SDCL 16-19-35. “The appropriate discipline in a particular case is determined by considering the seriousness of the misconduct, the likelihood that it or similar misconduct will be repeated, and the attorney’s prior record.” Discipline of Ortner, 2005 SD 83, ¶ 36, 699 N.W.2d at 877 (citing In re Discipline of Eicher, 2003 SD 40, ¶ 47, 661 N.W.2d 354, 369).1

Goals of Disciplinary Proceeding

[¶ 11.] The two goals of disciplinary proceedings are: “1) the protection of the public from further fraudulent, unethical or incompetent activities involving this attorney; and 2) the preservation of the image and integrity of the attorneys, the bar association and the legal profession as a whole.” Matter of Discipline of Simpson, 467 N.W.2d 921, 921-22 (S.D.1991). “The real and vital issue to be *33determined is whether or not the accused, from the whole evidence as submitted, is a fit and proper person to be permitted to continue in the practice of law.” Id. at 922.

I. Protection of Public

[¶ 12.] The first and primary goal of attorney discipline is to protect the public from further fraudulent, unethical or incompetent activities. This Court does not look only at the conviction, but must consider the circumstances surrounding the conviction. Janklow was convicted of second degree manslaughter which is defined as “[a]ny reckless killing of one human being, including an unborn child, by the act or procurement of another which, under the provisions of this chapter, is neither murder nor manslaughter in the first degree, nor excusable nor justifiable homieide[.]” SDCL 22-16-20. The jury found that Janklow acted recklessly when it convicted him of second degree manslaughter. He was not charged with or convicted of a felony involving an intentional act. The distinction is significant. “Reckless is a lesser degree of culpability or mental state than intentional.” State v. Giroux, 2004 SD 24, ¶ 14, 676 N.W.2d 139, 144. This Court has previously identified several categories of attorney conduct which warrant disbarment. Discipline of Jeffries, 500 N.W.2d at 223. “The first and historically the most important, is “when it is clear that the protection of society requires such action[.]’ ” Id. (citation omitted) (alteration in original). Generally, it is appropriate to disbar attorneys who are convicted of a serious crime as defined by SDCL which results in harm to clients or others. Id. Often these felony convictions are for crimes involving moral turpitude. Id. “To summarize, attorney conduct involving moral turpitude and/or dishonesty, fraud, deceit or misrepresentation, which harms, or is likely to harm the public, usually warrants disbarring the attorney involved.” Id. at 224.
[¶ 13.] ' This case is distinguishable from those attorney discipline cases involving fraud, dishonesty, deceit or misrepresentation and those cases involving harm to clients. It is also distinguishable from cases involving the use of drugs and alcohol. Janklow’s felony conviction is unrelated to the practice of law. While there are public' concerns regarding Janklow’s driving, there was no evidence presented to suggest that the public needs protection from Janklow’s conduct as an attorney. Janklow has a long and distinguished career as an attorney. He is widely regarded as a skilled lawyer. There is no evidence to suggest that he would be a threat to his clients or to the public if allowed to return to the practice of law.

II. Integrity of Attorneys, Bar Association and Legal Profession as a Whole

[¶ 14.] This Court must also consider the second goal of attorney discipline, the preservation of the image and integrity of attorneys, the bar association and the legal profession. Janklow’s actions resulted in the death of another human being. We must consider a lawyer’s responsibility as an officer of the Court to obey laws. In return for their license to practice law, lawyers hold positions of special responsibility to their clients and the public. They must take an oath to support the Constitution of the United States and the Constitution of the State of South Dakota. Violations of the law by lawyers undermine public trust and confidence in the rule of law. This must be a component of our evaluation as we consider the appropriate discipline.
[¶ 15.] Janklow’s criminal case received extensive media coverage and led to his resignation from the United States *34House of Representatives. Janklow has expressed remorse and while the conviction has had personal and professional consequences, “[publicity and personal grief are not factors in deciding appropriate discipline.” Discipline of Ortner, 2005 SD 83, ¶ 39, 699 N.W.2d at 877. “Under art. V, § 12 of our Constitution, this Court, and not the media nor any third party, is solely charged with the responsibility for determining what is appropriate discipline in any attorney misconduct case.” Id. (citations omitted). Appropriate discipline is also not a partisan issue to be influenced by political supporters or opponents.
[¶ 16.] “The purpose of a criminal prosecution is to punish a crime against the State.” In re Discipline of Wilka, 2001 SD 148, ¶ 17, 638 N.W.2d 245, 250. “Punishment for any criminal activity is handled in sentencing[.]” Discipline of Simpson, 467 N.W.2d at 922. “The purpose of attorney disciplinary proceedings is not to punish the attorney anew, but rather to take sufficient measures for the protection of the public and its legal system from a repetition of these types of incidents.” Discipline of Wilka, 2001 SD 148, ¶ 17, 638 N.W.2d at 250 (citing Matter of Discipline of Hopewell, 507 N.W.2d 911, 916 (S.D.1993)). “[A]n attorney is and should be held to a higher standard than the general public and the profession is entitled to know that there is a consequence when that standard is not met.” Discipline of Simpson, 467 N.W.2d at 923.
Appropriate Discipline
[¶ 17.] In this case, conviction of a serious crime warrants sanctions as it reflects on the public trust placed on attorneys. However, we must also consider that Janklov/s conviction did not involve an intentional act and was unrelated to the practice of law. A lawyer must be held accountable for his or her acts, even if the results were unintended, but we must not be unfair to the lawyer.
[¶ 18.] In determining the appropriate level of discipline, we have applied South Dakota law and reviewed South Dakota cases which have addressed similar legal principles.2 We have also considered disciplinary actions involving manslaughter convictions from other states as there is no similar case in South Dakota.3 Although *35not adopted in South Dakota, we also have reviewed for guidance the potential aggravating and mitigating factors of the ABA Standards for Imposing Lawyer Sanctions. See Discipline of Laprath, 2003 SD 114, ¶ 86 n. 4, 670 N.W.2d at 66 n. 4. The facts and circumstances of this attorney disciplinary action warrant suspension for twenty-six months. This sanction is consistent with South Dakota cases addressing the issue of conduct reflecting a disregard for the rule of law which undermines public confidence in the law. It is also consistent with sanctions in other states where misconduct resulted in manslaughter or vehicular homicide convictions.
[¶ 19.] Therefore, this Court will accept the recommendations of the Disciplinary Board of the State Bar and Janklow will be suspended from the practice of law retroactive to December 15, 2003, and he will be reinstated on February 15, 2006, without further proceedings, subject to the conditions recommended by the Disciplinary Board. Further, Janklow must also reimburse the State Bar of South Dakota and the Unified Judicial System for expenses allowed under SDCL 16-19-70.2.
[¶ 20.] CALDWELL, BASTIAN and VON WALD, Circuit Judges, concur.
[¶ 21.] RUSCH, Circuit Judge, dissents.
[¶ 22.] SEVERSON, Presiding Circuit Judge, and CALDWELL, BASTIAN, RUSCH and VON WALD, Circuit Judges, sitting for GILBERTSON, Chief Justice, SABERS, KONENKAMP, ZINTER and MEIERHENRY, Justices, disqualified.

. While some states make a felony conviction grounds for automatic disbarment, this approach to attorney discipline has not been adopted in South Dakota. In re Discipline of Parker, 269 N.W.2d 779, 780 (S.D.1978).
To determine whether discipline other than disbarment would be appropriate, the circumstances surrounding the conviction will be considered, i.e., whether the conduct involved dishonesty, fraud, deceit, or misrepresentation; whether the conduct is prejudicial to the administration of justice; whether the conduct adversely reflects upon the attorney’s integrity, competency or fitness to practice law.

Id.

As officers of this court, attorneys are charged with obedience of the laws of this state and the United States. The intentional violation of those laws by those who are specially trained and knowledgeable of them is particularly unwarranted and constitutes a breach of the attorney's oath of office. Because of his position in society, even minor violations of law by a lawyer tend to lessen public confidence in the legal profession. Obedience of the law exemplifies respect for the law. To lawyers especially, respect for the law must be more than a platitude.
Matter of Discipline of Jeffries, 500 N.W.2d 220, 222 (S.D.1993) (quoting In re Discipline of Parker, 269 N.W.2d at 780) (emphasis added).


. See Discipline of Simpson, 467 N.W.2d at 923 (attorney received a suspended imposition of sentence for failing to file federal income tax return and South Dakota sales tax returns from 1965 through 1988 and was suspended from the practice of law for two years); Discipline of Jeffries, 500 N.W.2d at 226-27 (prosecutor’s commission of felony and misdemeanor drug offenses warranted three year suspension from the practice of law).


. See In re Alkow, 64 Cal.2d 838, 51 Cal.Rptr. 912, 415 P.2d 800 (1966) (imposing a six month suspension for a manslaughter conviction which occurred after twenty traffic violations, at least eleven of which were for driving without a license); People v. Fahselt, 807 P.2d 586 (Colo.1991) (holding that convictions for felony vehicular assault, misdemeanor driving under the influence of alcohol, failure to maintain liability insurance and reckless driving warranted public censure); In re Steiner, 817 A.2d 793 (Del.2003) (holding that three year suspension was appropriate for conviction for two counts of misdemeanor second-degree vehicular assault and one count of misdemeanor driving while under the influence); In re Morris, 74 N.M. 679, 397 P.2d 475 (1965) (ordering indefinite suspension based on conviction of involuntary manslaughter resulting from driving while under the influence of alcohol); Office of Disciplinary Counsel v. Michaels, 38 Ohio St.3d 248, 527 N.E.2d 299 (1988) (holding that convictions for involuntary manslaughter, driving while intoxicated, reckless operation and operating a motor vehicle without reasonable control warranted an eighteen month suspension); State ex rel. Oklahoma Bar Ass'n v. Wyatt, 32 P.3d 858 (Okla 2001) (holding that disbarment was appropriate for conviction of first degree manslaughter involving driving while intoxicated); Office of Disciplinary *35Counsel v. Patchel, 539 Pa. 497, 653 A.2d 625 (1995) (holding that a four year suspension was appropriate for conviction of two counts of homicide by vehicle and two counts of accident involving death or personal injury hit and run); In re Disciplinary Proceeding Against Curran, 115 Wash.2d 747, 801 P.2d 962 (1990) (imposing a six month suspension in addition to an eighteen month interim suspension period for driving while intoxicated resulting in two vehicular homicide warrants).

